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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

CHARLOTTE CHARLES and TIM DUNN,                      )
Individually and as Co-Administrators of the         )
ESTATE OF HARRY DUNN, and                            )
NIALL DUNN, Individually,                            )
                                                     )      Case No. 1:20-cv-01052
               Plaintiffs,                           )
       v.                                            )
                                                     )
ANNE SACOOLAS and JONATHAN                           )
SACOOLAS,                                            )
                                                     )
               Defendants.                           )

                                            ORDER

       THIS MATTER CAME BEFORE THE COURT on Defendants’ Motion to Dismiss under

the doctrine of forum non conveniens, and in the alternative, Partial Motion to Dismiss Pursuant

to Fed. R. Civ. P. 12(b)(6), it appearing the Defendants have satisfied their burden to demonstrate

England is an available and adequate alternative forum and the motion is proper and should be

granted, it is hereby

       ORDERED that Defendants’ Motion to Dismiss under the doctrine of forum non

conveniens is GRANTED.



Entered this ___ day of _____________, 20__.


                                               ______________________________________
                                               United States District Court Judge
